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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

Mercury Public Affairs, LLC Plaintiff,
Case No. | [-CV-C7S] ¥
=-j-
Airbus Defence and Space, 8.A.U., f/k/a Rule 7.1 Statement
Airbus Military and Airbus Defense and
Space, Inc.

 

Defendant.

Pursuant to Federal Rule of Civil Procedure 7.1 [formerly Local

General Rule 1.9] and to enable District Judges and Magistrate Judges of the Court
to evaluate possible disqualification or recusal, the undersigned counsel for

Mercury Public Affairs, LLC (a private non-governmental party)

certifies that the following are corporate parents, affiliates and/or subsidiaries of
said party, which are publicly held.

Omnicon Group, Inc.

Date: August 8, 2019 lin nl]

Signature of Attorney

Attorney Bar Code: Ch3SOE -

Form Rule7_l.pdf SDNY Web 10/2007
